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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



 AMRO HEGAB, individually and on behalf Civil Action No. 11-cv-01206
 of all other persons similarly situated, (CCC)(JAD)

                    Plaintiff,

 v.                                            ORDER

 FAMILY DOLLAR STORES, INC.,                   ELECTRONICALLY FILED

                    Defendant.




                                     ORDER

         Plaintiff, Amro Hegab, and defendant, Family Dollar Stores, Inc., have filed

  a joint motion seeking preliminary approval of their settlement in this action. The

  Court has fully considered the motion and all related submissions and the Court for

  good cause shown grants the motion as follows:

         It is on this _______ day of __________, 2014

         ORDERED, that the parties’ joint motion for preliminary approval of their

  settlement agreement is GRANTED; and it is further

         ORDERED, that the proposed settlement class is conditionally certified; and

  it is further

         ORDERED, that the form and manner of notice proposed by the parties, as

  well as the proposed timetable and claims form, are approved; and it is further
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       ORDERED, that Klafter Olsen & Lesser LLP, Hepworth Gershbaum &

 Roth, PLLC, and Lite DePalma Greenberg, LLC are appointed as settlement class

 counsel; and it is further

       ORDERED, that plaintiff Hegab is appointed settlement class representative

 and Rust Consulting, Inc. settlement administrator; and it is further

       ORDERED, that a copy of this Order will be served upon all counsel of

 record within seven days of the date hereof.



                                        _______________________________
                                        Claire Cecchi, U.S.D.J.




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